 NameCase
       and address:
             2:17-cv-04145-FMO-PLA Document 26-2 Filed 06/21/17 Page 1 of 1 Page ID #:90
 Michael E. Piston
 225 Broadway Suite 307
 New York, NY 10007
 Local Cousel:
 Paul D. Cass (CSBA 100484)
 3055 Wilshire Blvd Suite 900
 Los Angeles, CA 90010

                                                     UNITED STATES DISTRICT COURT
                                                    CENTRAL DISTRICT OF CALIFORNIA
 Cassell Creations, LLC DBA Fine Arts Sculpture Center Inc.,                      CASE NUMBER

 Oleg Kedria, Zhanna Kedria, Mikhael Kedria
                                                                                      2:17-CV-04145-FMO-PLA
                                                                 Plaintiff(s)
                                        v.
United States Citizenship and Immigration Services, an agency of the                  (PROPOSED) ORDER ON APPLICATION
United States government and Kathy A. Baran Director, United States
Citizenship and Immigration Services' California Service Center,                     OF NON-RESIDENT ATTORNEY TO APPEAR
                                                             Defendant(s).               IN A SPECIFIC CASE PRO HAC VICE

 The Court, having determined whether the required fee has been paid, and having reviewed the
 Application of Non-Resident Attorney to Appear in a Specific Case Pro Hac Vice filed by
 Piston Michael E.                                  of
                                                                                         Michael E. Piston Attorney At Law
 Applicant’s Name (Last Name, First Name & Middle Initial)                               225 Broadway Suite 307
                                                                                         New York, NY 10007
646-845-9895                                 206-770-6350
Telephone Number                           Fax Number
  michaelpiston@gmail.com
                               E-Mail Address                                        Firm/Agency Name & Address

 for permission to appear and participate in this case on behalf of
 Cassell Creations, LLC DBA Fines Arts Sculpture Center Inc., Oleg Kedria Zhanna Kedria, Mikhael Kedria



 Name(s) of Party(ies) Represented                                              x Plaintiff(s)    Defendant(s)         Other:
 and designating as Local Counsel
                                                                                         Paul D.Cass Attorney At Law
  Cass Paul D.                                                                  of       3055 Wishire Blvd Suite 900
 Designee’s Name (Last Name, First Name & Middle Initial)                                Los Angeles, CA 90010

  CSBA 100484                 2134871595
 Designee’s Cal. Bar No.         Telephone Number           Fax Number
     pdcesq@gmail.com
                                 E-Mail Address                                      Firm/Agency Name & Address

  HEREBY ORDERS THAT the Application be:
       GRANTED.
       DENIED:  for failure to pay the required fee.
                            for failure to attach a Certificate of Good Standing issued within 30 days prior to filing of Application.
                            for failure to complete Application:
                            pursuant to L.R. 83-2.1.3.2:       Applicant resides in California;     previous Applications listed indicate Applicant
                            is regularly employed or engaged in business, professional, or other similar activities in California.
                            pursuant to L.R. 83-2.1.3.4; Local Counsel:      is not member of Bar of this Court;  does not maintain office in District.
                            because

  IT IS HEREBY FURTHER ORDERED THAT the Application fee, if paid:                                                be refunded    not be refunded.

  Dated
                                                                                          U.S. District Judge/U.S. Magistrate Judge
G–64 ORDER (5/16)          (PROPOSED) ORDER ON APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE             Page 1 of 1
